Case 8:16-cv-01098-SDM-TBM Document 29 Filed 09/16/16 Page 1 of 2 PageID 143



                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

MELANEE PACKARD,

       Plaintiff,

V.                                                   CASE NO. 8:16-cv-01098-SDM-TBM

WELLS FARGO BANK, N.A.,

      Defendant.
________________________________/

                              NOTICE OF PENDING SETTLEMENT

       Plaintiff, MELANEE PACKARD, by and through her undersigned counsel, hereby

notifies the Court that the parties, Plaintiff, MELANEE PACKARD, and Defendant, WELLS

FARGO BANK, N.A., have reached a settlement with regard to this case, and are presently

drafting, and finalizing the settlement agreement, and general release documents.            Upon

execution of the same, the parties will file the appropriate dismissal documents with the Court.



                                                     /s/ Shaughn C. Hill___________
                                                     SHAUGHN C. HILL, ESQUIRE
                                                     Florida Bar No. 0105998
                                                     MORGAN & MORGAN, TAMPA, P.A.
                                                     One Tampa City Center
                                                     201 N. Franklin Street, Suite 700
                                                     Tampa, FL 33602
                                                     Telephone: (813) 223-5505
                                                     Facsimile: (813) 223-5402
                                                     Primary Email: SHill@ForThePeople.com
                                                     Secondary: LCrouch@ForThePeople.com
                                                     Attorney for Plaintiff
Case 8:16-cv-01098-SDM-TBM Document 29 Filed 09/16/16 Page 2 of 2 PageID 144



                               CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 16TH day of September, 2016, the foregoing

document was filed electronically in accordance with the Court’s guidelines, using the Court’s

CM/ECF system; and, a copy of which was served via electronic mail to all parties.




                                                   /s/ Shaughn C. Hill_________________
                                                   SHAUGHN C. HILL, ESQUIRE
                                                   Florida Bar#: 0338620
                                                   MORGAN & MORGAN, TAMPA, P.A.
                                                   One Tampa City Center
                                                   201 N. Franklin St., Suite 700
                                                   Tampa, FL 33602
                                                   Telephone: (813) 223-5505
                                                   Facsimile: (813) 223-5402
                                                   Email: shill@forthepeople.com
                                                   Secondary: lcrouch@forthepeople.com
                                                   Attorney for Plaintiff
